




 










&nbsp;

IN THE

TENTH COURT OF APPEALS

&nbsp;




 
  
 
 
  
  
 


&nbsp;

&nbsp;



No. 10-10-00036-CV

&nbsp;

In
re Smithtex, LLP, Smith Properties, LLP,

Steven
F. Smith, Stuart N. R. Smith, Norman L. Smith

&nbsp;

&nbsp;



Original Proceeding

&nbsp;

&nbsp;



MEMORANDUM&nbsp; Opinion



&nbsp;

The petition for writ of mandamus is
denied.

&nbsp;

&nbsp;

REX D. DAVIS

Justice

&nbsp;

Before
Chief Justice Gray,

Justice Reyna, and

Justice Davis

Petition
denied

Opinion
delivered and filed February 10, 2010

[OT06]








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